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16                         UNITED STATES DISTRICT COURT
17                       SOUTHERN DISTRICT OF CALIFORNIA
18
19   ANTHONY KROLL,           ) CASE NO. 3:13-CV-01978-H-RBB
                              )
20               Plaintiff,   )
                              ) NOTICE OF SETTLEMENT
21       vs.                  )
                              )
22   NORTH AMERICAN RECOVERY, )
                              )
23               Defendant.   )
                              )
24                            )
                              )
25                            )
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26                            )
27   ///
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                                                                  NOTICE OF SETTLEMENT
     07622.00                                                 CASE NO. 3:13-CV-01978-H-RBB
       Case 3:13-cv-01978-H-RBB Document 12 Filed 06/10/14 PageID.61 Page 2 of 2



 1                  TO THE HONORABLE COURT, TO ALL PARTIES HEREIN AND TO
 2   THEIR RESPECTIVE COUNSEL OF RECORD:
 3                  PLEASE TAKE NOTICE that this entire action has been settled.                    The
 4   parties anticipate that they will complete the settlement, and file a joint motion of
 5   dismissal with prejudice, within 45 days from the date of this notice.
 6                  In light of the settlement, the parties respectfully request that the Court take
 7   off calendar all future hearing dates in this case, and that the Court refrain from
 8   entering judgment on the previously accepted offer of judgment (ECF No. 11) so
 9   that the parties can dismiss this matter by way of a joint motion when the
10   settlement has been finalized.
11                  Respectfully submitted,
12
13
14   DATED: June 9, 2014                      LAW OFFICES OF TODD M. FRIEDMAN P.C.
15
16                                            By:     s/Nicholas J. Bontrager
                                                     Todd M. Friedman
17                                                   Nicholas J. Bontrager
                                                     Suren N. Weerasuriya
18                                                   Attorneys for Plaintiff
                                                     ANTHONY KROLL
19
20
     DATED: June 9, 2014                      CARLSON & MESSER LLP
21
22
                                              By:     s/Martin Schannong
23                                                   Jeffery J. Carlson
                                                     Martin Schannong
24                                                   Attorneys for Defendant
                                                     NORTH AMERICAN RECOVERY
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                                                                                  NOTICE OF SETTLEMENT
     07622.00                                                                 CASE NO. 3:13-CV-01978-H-RBB
